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                          Exhibit 3
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               Economic and Financial Consulting and Expert Testimony




               Securities Class
               Action Settlements
               2019 Review and Analysis
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                      The views expressed in this report are solely those of the authors, who are responsible for the content,
                                      and do not necessarily represent the views of Cornerstone Research.


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Appendix 8: Median Docket Entries by “Simplified Tiered Damages” Range                                                           22




Analyses in this report are based on 1,849 securities class actions filed after passage of the Private Securities Litigation Reform
Act of 1995 (Reform Act) and settled from 1996 through year-end 2019. See page 17 for a detailed description of the research
sample. For purposes of this report and related research, a settlement refers to a negotiated agreement between the parties
to a securities class action that is publicly announced to potential class members by means of a settlement notice.


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Highlights
Historically high median settlement amounts persisted in 2019, driven
primarily by an increase in the overall percentage of mid-sized cases
in the $5 million to $25 million range as well as a decrease in the
number of smaller settlements.

•    There were 74 settlements totaling $2 billion in 2019.                         •     The number of small settlements (amounts less than
     (page 3)                                                                             $5 million) declined by 36 percent to 16 cases in 2019,
                                                                                          the fewest such settlements in the past decade.
•    The median settlement in 2019 of $11.5 million was
                                                                                          (page 4)
     unchanged from 2018 (adjusted for inflation) and was
     34 percent higher than the prior nine-year median.                             •     The proportion of settlements in 2019 with a public
     (page 3)                                                                             pension plan as lead plaintiff reached its lowest level in
                                                                                          the prior 10 years. (page 12)
•    The average settlement amount in 2019 was
     $27.4 million, which was 43 percent lower than the                             •     In 2019, 53 percent of settled cases involved an
     prior nine-year average. (page 4)                                                    accompanying derivative action, the second-highest
                                                                                          rate over the past decade. (page 10)
•    There were four mega settlements (settlements equal
     to or greater than $100 million) in 2019. (page 20)                            •     Companies that settled cases after a ruling on a motion
                                                                                          to dismiss (MTD) were, on average, 50 percent larger
                                                                                          (measured by total assets) than companies that settled
                                                                                          while the MTD was pending. (page 14)


Figure 1: Settlement Statistics
(Dollars in millions)

                                                                          1996–2018                             2018                       2019
    Number of Settlements                                                        1,775                               78                         74
    Total Amount                                                          $103,955.6                         $5,154.8                    $2,029.9
    Minimum                                                                       $0.2                            $0.4                        $0.5
    Median                                                                        $8.8                           $11.5                       $11.5
    Average                                                                      $58.8                           $66.1                       $27.4
    Maximum                                                                  $9,172.1                        $3,054.4                      $389.6

Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used. Figure 1 includes all post–Reform Act settlements. Settlements in
prior years have included 14 cases exceeding $1 billion. Adjusted for inflation, these settlements drive up the average settlement amount.




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Author Commentary

2019 Findings                                                                One finding that is particularly striking
The size of issuer defendant firms (measured by total assets)
continued to grow in 2019, increasing by 59 percent over
                                                                             is the decrease in public pension plan
2018 and 117 percent above the median over the last 10                       lead plaintiffs despite an increase in
years. This may be due at least in part to prolonged changes                 larger issuer firms with potentially
in the population of public companies. In particular, as has
been widely observed, the number of publicly traded firms
                                                                             sizable damages exposure.
continued to decline in recent years—with the result that
remaining public firms are larger. 1                                         Dr. Laura E. Simmons
                                                                             Senior Advisor
As discussed by other commentators, large issuer                             Cornerstone Research
defendants may cause plaintiff counsel to pursue potential
claims more vigorously. 2 As in our prior research, we
examine the number of docket entries as a proxy for the                      Other contributors to the reduction in public pension plan
time and effort by plaintiff counsel and/or case complexity.                 involvement may include changes in the mix of plaintiff law
In 2019, average docket entries were the highest in the last                 firms serving as lead counsel, and possibly the recent
10 years, primarily driven by cases with relatively large                    increase in the propensity of plaintiffs to opt out of class
damages, as measured by our simplified proxy for plaintiff-                  actions, including in larger cases (see Opt-Out Cases in
style damages (i.e., “simplified tiered damages” exceeding                   Securities Class Action Settlements: 2014–2018 Update,
$500 million).                                                               Cornerstone Research).
Overall, our simplified proxy for plaintiff-style damages
remained at elevated levels in 2019 compared to earlier                      Looking Ahead
years in the decade, in part reflecting the relatively high                  Recent trends in securities case filings can inform
market capitalization losses associated with cases filed over                expectations for developments in settlements in upcoming
the last three years. 3                                                      years.
Another driver of higher plaintiff-style damages is class                    The number of filings alleging Rule 10b-5 and/or Section 11
period length. Indeed, plaintiffs often amend their initial                  claims reached record levels in 2019. In addition, for the
complaints to capture longer alleged class periods. In 2019,                 second year in a row, median Disclosure Dollar Loss (DDL) for
the median class period length per the operative complaint                   case filings reached unusually high levels (see Securities Class
as of the time of settlement was 1.7 years—the longest over                  Action Filings—2019 Year in Review, Cornerstone Research).
the last 10 years. In comparison, the median class period
alleged in first identified complaints during 2015–2018 (the                 Absent changes in dismissal rates, these results suggest that
period during which most of the 2019 settlements were                        the volume of securities case settlements, as well as their
filed) was just under one year. This indicates that between                  value, is likely to continue at relatively high levels in
the time of filing and settlement plaintiffs substantially                   upcoming years.
expanded the period over which they claim the alleged fraud                   —Laarni T. Bulan and Laura E. Simmons
occurred.
Despite the large size of cases settled in 2019, public pension
plans served as lead plaintiffs less frequently, with their
involvement reaching the lowest level over the last 10 years.
Prior literature has discussed possible reasons for institutions
choosing not to serve as lead plaintiffs, including an
imbalance in the cost/benefit of doing so. 4




                                                                           2
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Total Settlement Dollars
•    The total value of settlements approved by courts in
     2019 declined dramatically from 2018 due to the                                The median settlement amount in 2019
     absence of very large settlements. Excluding 2018                              was 34 percent higher than the prior
     settlements over $1 billion, however, total settlement
     dollars declined by a modest 3 percent in 2019
                                                                                    nine-year median.
     (adjusted for inflation).
                                                                                    •     Mediators continue to play a central role in the
•    The median settlement amount in 2019 of $11.5 million
                                                                                          resolution of securities class action settlements. In
     was unchanged from the prior year (adjusted for
                                                                                          2019, nearly all cases in the sample involved a
     inflation).
                                                                                          mediator.
•    Compared to the prior nine years, larger median
     settlement amounts in 2019 were accompanied by
     higher levels in the proxy for plaintiff-style damages.
     (See page 5 for a discussion of damages estimates.)


Figure 2: Total Settlement Dollars
2010–2019
(Dollars in billions)

                                                                                                        $6.4

                                                     $5.2                                                                           $5.2


     $3.6                            $3.8
                                                                                        $3.3

                                                                                                                                            $2.0
                        $1.5                                                                                            $1.5
                                                                      $1.2




     2010               2011        2012             2013            2014               2015           2016             2017        2018   2019
     N=85               N=65        N=56             N=66            N=63               N=77           N=85             N=81        N=78   N=74
Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used. N refers to the number of observations.




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Settlement Size
As discussed above, the median settlement amount was                                        •     Despite a decline in the average settlement amount
unchanged from 2018. Generally, the median is more stable                                         from 2018, the number of small settlements (less than
from year to year than the average, since the average can be                                      $5 million) also declined by 36 percent to 16 cases in
affected by the presence of even a small number of large                                          2019, the fewest such settlements in the past decade.
settlements.                                                                                      Cases that result in settlement funds less than
                                                                                                  $5 million may be viewed as “nuisance” suits, a shift
•         The average settlement amount in 2019 was
                                                                                                  upwards from a threshold of $2 million prevalent in
          $27.4 million, 43 percent lower than the average over
                                                                                                  early post–Reform Act years. 5
          the prior nine years. (See Appendix 1 for an analysis of
          settlements by percentiles.)
•         If settlements exceeding $1 billion are excluded from                             57 percent of cases settled for between
          the prior nine-year average, the decline in 2019 was
          16 percent.
                                                                                            $5 million and $25 million.
•         There were four mega settlements (equal to or greater
          than $100 million) in 2019, with settlements ranging
          from $110 million to $389.6 million. (See Appendix 4 for
          additional information on mega settlements.)


Figure 3: Distribution of Post–Reform Act Settlements
1996–2019
(Dollars in millions)

                                                                     34%
                                                                                                                                                      1996–2018
                                                                                                                                                      2018

                                                               27%                                                                                    2019


                                                     23% 23%
                       22%
                                         21%
                             19%


                                               15%
                                                                                14%
          13%
    12%
                 11%               11%
                                                                           9%
                                                                                      8%             8%

                                                                                           5% 5%

                                                                                                           2% 3%            3%                   3%
                                                                                                                     1%          1% 1%                2% 1%
                                                                                                                                         1% 1%
                                                                                                                                                              0%

          < $2           $2–$4             $5–$9          $10–$24          $25–$49          $50–$99        $100–$149 $150–$249 $250–$499               >= $500
Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used. Percentages may not sum to 100 percent due to rounding.




                                                                                          4
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Damages Estimates
Rule 10b-5 Claims: “Simplified Tiered Damages”

“Simplified tiered damages” uses simplifying assumptions to
estimate per-share damages and trading behavior. It                                 While median “simplified tiered
provides a measure of potential shareholder losses that                             damages” remained largely unchanged
allows for consistency across a large volume of cases, thus
enabling the identification and analysis of potential trends. 6
                                                                                    in 2019, average “simplified tiered
Cornerstone Research’s prediction model finds this measure
                                                                                    damages” increased for the third year
to be the most important factor in predicting settlement                            in a row.
amounts. 7 However, this measure is not intended to
represent actual economic losses borne by shareholders.                             •     “Simplified tiered damages” is generally correlated with
Determining any such losses for a given case requires more                                the length of the class period. Among cases with
in-depth economic analysis.                                                               Rule 10b-5 claims, the median class period length in
•     Median “simplified tiered damages” was largely                                      2019 was at its highest level in the last 10 years.
      unchanged from the prior year. (See Appendix 5 for                            •     “Simplified tiered damages” is also typically correlated
      additional information on the median and average                                    with larger issuer defendants (measured by total assets
      settlements as a percentage of “simplified tiered                                   or market capitalization of the issuer). However, despite
      damages.”)                                                                          the lack of change in median “simplified tiered
                                                                                          damages” compared to 2018, median total assets of
                                                                                          issuer defendants increased by over 67 percent in 2019.


Figure 4: Median and Average “Simplified Tiered Damages” in Rule 10b-5 Cases
2010–2019
(Dollars in millions)

     Median "Simplified Tiered Damages"
     Average "Simplified Tiered Damages"
                                                        $2,628
                                        $2,463

                                                                                                          $2,209
                                                                                          $2,103




           $894          $896
                                                                         $838                                                                             $835
                                                                                                                                            $699
                                                                                                                              $481
    $346                         $390
                  $234                           $227             $202             $199            $203                              $255          $254
                                                                                                                    $135


      2010           2011           2012             2013             2014              2015           2016             2017           2018          2019
Note: “Simplified tiered damages” are adjusted for inflation based on class period end dates. Damages are estimated for cases alleging a claim under
Rule 10b-5 (whether alone or in addition to other claims).



                                                                                  5
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Damages Estimates (continued)
                                       #:5116
•     Larger cases, as measured by “simplified tiered
      damages,” typically settle for a smaller percentage of                       At 9.4 percent in 2019, median
      damages.                                                                     settlements as a percentage of
•     Smaller cases (less than $25 million in “simplified tiered                   “simplified tiered damages” for mid-
      damages”) are less likely to include factors related to
      institutional lead plaintiffs and/or related actions by the
                                                                                   sized cases reached a five-year high.
      Securities and Exchange Commission (SEC) or criminal
      charges.                                                                     •      The steadily increasing median settlement as a
                                                                                          percentage of “simplified tiered damages” observed
•     Among cases in the sample, smaller cases typically                                  from 2016 to 2018 reversed in 2019. Appendix 5 shows
      settle more quickly. In 2019, cases with less than                                  a substantial increase in 2019 in average settlements as
      $25 million in “simplified tiered damages” settled                                  a percentage of “simplified tiered damages.” However,
      within 2.0 years on average, compared to 3.5 years for                              this result is driven by a few outlier cases. Excluding
      cases with “simplified tiered damages” greater than                                 these cases, the average percentage for 2019 is not
      $500 million.                                                                       unusual compared to recent years.


Figure 5: Median Settlements as a Percentage of “Simplified Tiered Damages” by Damages Ranges in Rule 10b-5 Cases
2010–2019
(Dollars in millions)

    17.9%                                                                                                                                   2010–2018
                                                                                                                                            2019




            12.8%



                                9.2%              9.4%

                        7.6%


                                         4.9%                          4.8%                 4.8%                                           5.1%    4.8%
                                                              4.0%                 3.9%                 3.7%     3.3%
                                                                                                                             2.4%
                                                                                                                                    1.3%



       < $25             $25–$74           $75–$149            $150–$249            $250–$499            $500–$999            > $1,000     Total Sample
Note: Damages are estimated for cases alleging a claim under Rule 10b-5 (whether alone or in addition to other claims).




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Damages Estimates (continued)
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’33 Act Claims: “Simplified Statutory Damages”

For cases involving only Section 11 and/or Section 12(a)(2)
claims (’33 Act claims), shareholder losses are estimated                          Median “simplified statutory
using a model in which the statutory loss is the difference                        damages” for ’33 Act claim cases in
between the statutory purchase price and the statutory sales
price, referred to here as “simplified statutory damages.” 8                       2019 was more than 65 percent higher
Only the offered shares are assumed to be eligible for                             than the prior five-year median.
damages.
“Simplified statutory damages” are typically smaller than                          •     Cases with only ’33 Act claims tend to settle for
“simplified tiered damages,” reflecting differences in the                               smaller median amounts than cases that include
methodologies used to estimate alleged inflation per share,                              Rule 10b-5 claims.
as well as differences in the shares eligible to be damaged                        •     In 2019, among settlements involving ’33 Act claims
(i.e., only offered shares are included).                                                only, the median time to settlement was only slightly
                                                                                         longer than cases involving Rule 10b-5 claims only,
                                                                                         3.2 years and 2.9 years, respectively. When compared
                                                                                         to the prior year, however, ’33 Act claim cases took
                                                                                         more than 36 percent longer to resolve in 2019
                                                                                         (3.2 years compared to 2.3 years).


Figure 6: Settlements by Nature of Claims
2010–2019
(Dollars in millions)

                                                                                                                               Median Settlement as
                                                                                                                                  a Percentage of
                                                   Number of                Median                Median “Simplified           “Simplified Statutory
                                                  Settlements              Settlement             Statutory Damages”                 Damages”

   Section 11 and/or
                                                        77                     $7.2                        $118.8                        7.4%
   Section 12(a)(2) Only




                                                                                                                               Median Settlement as
                                                                                                                                 a Percentage of
                                                   Number of                Median                 Median “Simplified           “Simplified Tiered
                                                  Settlements              Settlement               Tiered Damages”                 Damages”
   Both Rule 10b-5 and
                                                       115                    $15.1                        $390.0                        5.8%
   Section 11 and/or Section 12(a)(2)

   Rule 10b-5 Only                                     524                     $8.5                        $212.5                        4.6%


Note: Settlement dollars and damages are adjusted for inflation; 2019 dollar equivalent figures are used. Damages are adjusted for inflation based on class
period end dates.




                                                                                 7
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Damages Estimates (continued)
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•    Settlements as a percentage of “simplified statutory                          •     Over the period 2010–2019, the median size of issuer
     damages” are smaller for cases that have larger                                     defendants (measured by total assets) was 68 percent
     estimated damages. This finding holds for cases with                                smaller for cases with only ’33 Act claims relative to
     ’33 Act claims only, as well as those with Rule 10b-5                               those that included Rule 10b-5 claims.
     claims.
                                                                                   •     The smaller size of issuer defendants in ’33 Act cases is
                                                                                         consistent with the vast majority of these cases
                                                                                         involving initial public offerings (IPOs). From 2010
90 percent of cases with only ’33 Act                                                    through 2019, 83 percent of all cases with only ’33 Act
claims involved an underwriter as a                                                      claims have involved IPOs.
codefendant.

Figure 7: Median Settlements as a Percentage of “Simplified Statutory Damages” by Damages Ranges in ’33 Act Cases
2010–2019
(Dollars in millions)

                12.3%

                                                       10.9%




                                                                                                                                7.4%




                                                                                                  4.5%




                 < $50                               $50–$149                                   >= $150                      Total Sample
                 N=19                                  N=25                                      N=33                           N=77

Note: N refers to the number of observations.




                                                                                 8
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Analysis of Settlement Characteristics
Accounting Allegations

This analysis examines accounting allegations related to                           •     Among cases settled in 2019 with accounting-related
issues among securities class actions involving Rule 10b-5                               allegations, only 6 percent involved a named auditor
claims: alleged Generally Accepted Accounting Principles                                 codefendant. This was the lowest rate in the past
(GAAP) violations, violations of other reporting standards,                              decade and a decline from a high of 24 percent in 2015.
auditing violations, or weaknesses in internal controls over
                                                                                   •     The proportion of cases with accounting-related
financial reporting. 9 For further details regarding settlements
                                                                                         allegations that also involved associated criminal
of accounting cases, see Cornerstone Research’s annual
                                                                                         charges was 27 percent in 2019, well above the rate of
report on Accounting Class Action Filings and Settlements. 10
                                                                                         11 percent among cases settled during 2010–2018.
•    The proportion of settled cases alleging GAAP violations
     in 2019 was 44 percent, continuing a five-year decline
     from a high of 67 percent in 2014.                                            The frequency of reported accounting
•    Settled cases with restatements are generally                                 irregularities increased among settled
     associated with higher settlements as a percentage of                         cases in 2019 to 9 percent, compared to
     “simplified tiered damages” compared to cases without
     restatements. In 2019, the median settlement as a                             an average of less than 2 percent from
     percentage of “simplified tiered damages” for cases                           2015 to 2018.
     with restatements was 5.2 percent, compared to
     4.1 percent for cases without restatements.


Figure 8: Median Settlements as a Percentage of “Simplified Tiered Damages” and Accounting Allegations
2010–2019
                                                                                                                     Accounting
                                                                                                                    Irregularities
                                                                                                                         7.6%
                                                             Restatement
                                                                 7.0%

        Alleged GAAP
          Violations
           5.5%                                                                                                                      No Accounting
                                                                                                                                      Irregularities
                            No Alleged GAAP                                        No Restatement                                        4.6%
                               Violations
                                                                                         4.3%
                                  4.0%




           N=374                 N=265                          N=193                   N=446                           N=42            N=597

Note: N refers to the number of observations.




                                                                                 9
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Analysis of Settlement Characteristics (continued)
                                      #:5120
Derivative Actions

While settled cases involving an accompanying derivative
action are typically associated with both larger cases                                   53 percent of settled cases involved an
(measured by “simplified tiered damages”) and larger                                     accompanying derivative action, the
settlement amounts, this was not true in 2019.
                                                                                         second-highest rate over the last
•     The median settlement among cases with an
      accompanying derivative action was $10 million
                                                                                         10 years.
      compared to $14.8 million for cases without a
      derivative action.                                                                 •     Many larger settlements in 2019 involved non-U.S.
                                                                                               issuers (44 percent of settlements above $25 million),
•     This may be due at least in part to a substantial increase                               which have been associated with derivative actions far
      in derivative actions involving smaller issuers. In 2019,                                less frequently than cases involving U.S. issuers. During
      70 percent of cases involving issuers with less than                                     2010–2019, only 22 percent of cases involving non-U.S.
      $250 million in total assets also had an accompanying                                    issuers had accompanying derivative actions.
      derivative action, compared to only 46 percent over the
      prior nine years.                                                                  •     In 2019, 36 percent of derivative actions were filed in
                                                                                               Delaware, the highest proportion in the past decade.
                                                                                               The second most common filing state for derivative
                                                                                               suits was California.


Figure 9: Frequency of Derivative Actions
2010–2019
                                                                                                   Settlements without an Accompanying Derivative Action
                                                                                                   Settlements with an Accompanying Derivative Action




        50                                                                                                   50               43       35
                                                                                              38                                                    35

                                                           39               35
                         41
                                           27




                                                                                                                                       43
                                                                                              39                              38                    39
        35                                                                                                   35
                                           29              27               28
                         24



      2010              2011              2012            2013            2014               2015           2016             2017     2018         2019




                                                                                       10
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Analysis of Settlement Characteristics (continued)
                                      #:5121
Corresponding SEC Actions

Cases with an SEC action related to the allegations are                                  •     Cases with corresponding SEC actions have involved
typically associated with significantly higher settlement                                      accounting-related allegations less frequently in recent
amounts and higher settlements as a percentage of                                              years. From 2010 to 2016, 88 percent of settled cases
“simplified tiered damages.” 11                                                                involved accounting-related allegations, compared to
                                                                                               75 percent from 2017 to 2019.
•     In 2019, the median total assets of issuer defendant
      firms at the time of settlement was $1.3 billion for                               •     Cases involving corresponding SEC actions may also
      cases with corresponding SEC actions compared to                                         include allegations of criminal activity in connection
      $1.5 billion for cases without a corresponding SEC                                       with the time period covered by the underlying class
      action. This was consistent with the overall increase in                                 action. In 2019, more than 40 percent of cases with an
      the asset size of issuers.                                                               SEC action had related criminal charges.
•     For cases settled during 2015–2019, 42 percent of
      cases with a corresponding SEC action involved issuer
      defendants that had either declared bankruptcy or                                  30 percent of settled cases involved a
      were delisted from a major U.S. exchange prior to                                  corresponding SEC action, the highest
      settlement.                                                                        rate over the last 10 years.

Figure 10: Frequency of SEC Actions
2010–2019
                                                                                                            Settlements without a Corresponding SEC Action
                                                                                                            Settlements with a Corresponding SEC Action




        62
                                                                                                              69              64
                                                                                              58                                       62           52

                                                           53
                          58                                                53
                                            45




        23                                                                                                                                          22
                                                                                              19              16              17       16
                                            11             13               10
                          7

      2010              2011              2012            2013             2014              2015           2016             2017    2018         2019




                                                                                       11
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Analysis of Settlement Characteristics (continued)
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Institutional Investors

•     Institutional investors, including public pension plans (a
      subset of institutional investors), tend to be involved in                         The proportion of settlements with a
      larger cases, that is, cases with higher “simplified tiered                        public pension plan as lead plaintiff
      damages.”
                                                                                         reached its lowest level in the decade.
•     Median “simplified tiered damages” for cases involving
      a public pension as a lead plaintiff in 2019 were more                             •     Over the last 10 years, institutional investor lead
      than three times higher than for cases without a public
                                                                                               plaintiffs have also been associated with lower attorney
      pension plan as a lead plaintiff.
                                                                                               fees in relation to “simplified tiered damages.” This may
•     In 2019, median market capitalization (measured prior                                    reflect their tendency to be involved in larger cases, in
      to the settlement hearing date) for issuer defendants in                                 which attorney fees often represent a smaller
      cases involving an institutional investor as a lead                                      percentage of the total settlement fund, as well as their
      plaintiff was $1.6 billion compared to $459.4 million for                                potential ability to negotiate lower fees. 12
      cases without institutional investor involvement.                                  •     Among 2019 settled cases that do have an institutional
                                                                                               investor as a lead plaintiff, 50 percent involved a
                                                                                               parallel derivative action and 22 percent involved a
                                                                                               corresponding SEC action.


Figure 11: Median Settlement Amounts and Public Pension Plans
2010–2019
(Dollars in millions)
          Public Pension Plan as Lead Plaintiff
          No Public Pension Plan as Lead Plaintiff
          Percentage of Settlements with Public Pension Plan as Lead Plaintiff
                                      $27
                                                       $25
                    $24
                                                                                        $22
    $21                                                                                                                                  $21
                                                                                                                                                     $20
                                                                                                         $19

                                             46%
                                                             44%                                                          $15
                           40%                                                                                  41%
          38%                                                          $14                     38%
                                                                              37%
           $12                                                                                                                     32%
                                                                                                                                                           27%
                                                                                                                                               28%
                                                                                                                                                            $9


                                                                                                                 $6                            $6
                                                                               $5
                             $4                               $4
                                               $3                                               $3                                 $3



     2010              2011              2012             2013            2014               2015           2016             2017         2018        2019
Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used.




                                                                                       12
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Time to Settlement and Case Complexity
•    In 2019, 15 percent of cases settled within two years of
     filing, consistent with the rate over the last 10 years.                       Median “simplified tiered damages” for
     The average time from filing to settlement in 2019 was                         Rule 10b-5 cases settling in less than
     3.3 years.
                                                                                    two years were substantially smaller
•    Compared to cases that settled more quickly, cases that
     required three to five years to settle in 2019 had a
                                                                                    compared to settlements that took
     higher frequency of factors such as a public pension as                        longer to resolve.
     a lead plaintiff and/or the presence of a corresponding
     SEC action.                                                                    •     The number of docket entries as of the settlement may
•    Only 7 percent of cases in 2019 took more than five                                  reflect case complexity. This factor has also been used
     years to settle, the lowest rate in the past decade. Of                              in prior research as a proxy for attorney effort. 13 The
     these, 80 percent involved institutional investors. The                              number of docket entries is highly correlated with the
     median assets of the defendant firms in these cases                                  duration from filing to settlement hearing date, issuer
     were also substantially higher at $68 billion, compared                              size, criminal allegations, accounting allegations, as well
     to a median of $1.2 billion in other cases.                                          as the size of “simplified tiered damages.” Median
                                                                                          docket entries for cases settled in 2019 were largely
•    In 2019, cases that took more than five years to settle                              unchanged from prior years, but the average number of
     had a lower median settlement amount than cases that                                 docket entries reached its highest level in the past
     took three to five years to settle. This is despite the                              decade.
     higher median “simplified tiered damages” of
     $602 million for cases that took more than five years to
     settle, compared to $375 million for cases that took
     three to five years to settle.


Figure 12: Median Settlement by Duration from Filing Date to Settlement Hearing Date
2010–2019
(Dollars in millions)

                                                                                                                       $19.3
    2010–2018                                                                        $18.5
    2019
                                                                                                                                    $16.3
                                                                                                                                               $15.0
                                                                                                        $13.5


                                                                       $9.7

                                      $7.5          $7.9



      $3.3          $3.3




      Less than 2 Years                  2–3 Years                        3–4 Years                        4–5 Years                More Than 5 Years
       N=113 N=11                      N=201 N=24                       N=155 N=22                        N=69 N=12                  N=118 N=5
Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used. N refers to the number of observations.



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Case Stage at the Time of Settlement
In collaboration with Stanford Securities Litigation Analytics
(SSLA), 14 this report analyzes settlements in relation to the                       The average time to reach a ruling on a
stage in the litigation process at the time of settlement.                           motion for class certification among
•      In 2019, cases settled after a motion to dismiss (MTD)                        settlements was 2.3 years.
       was filed but prior to a ruling on the MTD had a median
       settlement of $8.5 million, significantly lower than for                      •    In the five-year period from 2015 to 2019, median
       cases settled at later stages.
                                                                                          “simplified tiered damages” for cases settled after a
•      In addition, among 2019 settlements, median total                                  filing of a motion for summary judgment (MSJ) was over
       assets of issuer defendants at the time of settlement                              four times the median for cases settled before a MSJ
       were almost 50 percent larger for cases settled                                    filing. This contributed to higher settlement amounts
       following a ruling on a MTD than for cases where the                               but lower settlements as a percentage of “simplified
       MTD was pending at the time of settlement.                                         tiered damages” for cases settled at this stage.


Figure 13: Median Settlement Dollars and Resolution Stage at Time of Settlement
2015–2019
(Dollars in millions)
                                                                                                                              $40.2
             Median Settlement Dollars
             Median Settlement as a Percentage of "Simplified Tiered Damages"



                                                                                                                                                   $26.9

                                                                                                     $22.9


           7.7%
                                                                              $13.9
                                                      5.3%                                            5.5%
                                4.7%                                                                                                               5.0%
                                                                              4.3%                                            4.1%

                                $4.9                  $5.4
           $2.9


    Before filing of MTD After filing of MTD, After ruling on MTD,      After filing of CC,   After ruling on CC,     After filing of MSJ,   After ruling on MSJ
                            before ruling      before filing of CC        before ruling       before filing of MSJ       before ruling
           N=37                  N=57                 N=72                    N=64                   N=63                    N=16                  N=14

Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used. MTD refers to “motion to dismiss,” CC refers to “class
certification,” and MSJ refers to “motion for summary judgment.” This analysis is limited to cases alleging Rule 10b-5 claims.




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Spotlight: Settlements in the
Pharmaceutical Industry
 Cases with issuer defendants in the pharmaceutical industry, as defined by their SIC code (pharma cases), reached an
 all-time high in 2019, both in the absolute number and percentage of cases. While in prior years pharma cases tended to
 involve relatively large “simplified tiered damages,” in 2019, the median was $163 million—36 percent lower than the
 median for all cases in 2019. Settlements for cases in this sector have a number of characteristics that differ from the
 overall sample, including several of those that are important determinants of settlement outcomes. (See Appendix 2 for
 additional information of settlements by industry.)
 •   Pharma cases are less likely to have a public                         •     Restatements of financials were also less common
     pension acting as a lead plaintiff. From 2010 to                            among pharma cases—14 percent—compared to
     2019, only 22 percent of pharma cases had a                                 30 percent in non-pharma cases from 2010 to 2019.
     public pension as lead plaintiff compared to
                                                                           •     Pharma cases are less likely to involve ’33 Act claims
     39 percent for non-pharma cases.
                                                                                 related to an offering. During 2010−2019, only
 •   Violations of GAAP are also less likely among                               17 percent of pharma cases involved ’33 Act claims,
     pharma cases than non-pharma cases. From 2010                               whereas such claims were alleged in 28 percent of
     to 2019, only 19 percent of pharma cases alleged                            non-pharma cases.
     violations of GAAP compared to 62 percent of
     non-pharma cases.




 Figure 14: Settlements in the Pharmaceutical Industry
 2010–2019

           Number of Pharma Cases
                                                                                                                                21.9%
           Percent of All Cases                 20.7%
                                                                                                                        18.6%
                                                                                                17.3%


                              13.5%                                            13.9%                                              14
                                                                                                  13                      13
                                                  12                                                           11.0%
                                                                  9.8%
                                                                                  10
                  8.0%                                                                                            8
     6.6%                          7
                                                                   6
       5
                      4




     2010           2011          2012          2013            2014            2015            2016            2017     2018    2019



 These differences explain, in part, why pharma cases with Rule 10b-5 allegations tend to settle for smaller percentages of
 “simplified tiered damages.” The median settlement as a percentage of “simplified tiered damages” for pharma cases
 over the past 10 years is 3.7 percent while for non-pharma cases that figure is 5.8 percent. 15




                                                                            15
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Cornerstone Research’s Settlement
Prediction Analysis
This research applies regression analysis to examine the                     •     Whether an outside auditor or underwriter was named
relationships between settlement outcomes and certain                              as a codefendant
security case characteristics. Regression analysis is employed
                                                                             •     Whether Section 11 and/or Section 12(a) claims were
to better understand and predict the total settlement
                                                                                   alleged in addition to Rule 10b-5 claims
amount, given the characteristics of a particular securities
case. Regression analysis can also be applied to estimate the                •     Whether the issuer defendant was distressed
probabilities associated with reaching alternative settlement                •     Whether a public pension was a lead plaintiff
levels. It is also helpful in exploring hypothetical scenarios,
including how the presence or absence of particular factors                  •     Whether the plaintiffs alleged that securities other than
affects predicted settlement amounts.                                              common stock were damaged

Determinants of                                                              Regression analyses show that settlements were higher
                                                                             when “simplified tiered damages,” MDL, issuer defendant
Settlement Outcomes                                                          asset size, the length of time the company has been public,
Based on the research sample of post–Reform Act cases that                   or the number of docket entries was larger, or when
settled through December 2019, the factors that were                         Section 11 and/or Section 12(a) claims were alleged in
important determinants of settlement amounts included the                    addition to Rule 10b-5 claims.
following:                                                                   Settlements were also higher in cases involving financial
•   “Simplified tiered damages”                                              restatements, a corresponding SEC action, a public pension
                                                                             involved as lead plaintiff, a third party such as an outside
•   Maximum Dollar Loss (MDL)—market capitalization                          auditor or underwriter that was named as a codefendant, or
    change from its peak to post-disclosure value                            securities other than common stock that were alleged to be
•   Most recently reported total assets of the issuer                        damaged.
    defendant firm                                                           Settlements were lower if the settlement occurred in 2012
•   A measure of how long the issuer defendant has been a                    or later, or if the issuer was distressed.
    public company                                                           More than 70 percent of the variation in settlement amounts
•   Number of entries on the lead case docket                                can be explained by the factors discussed above.

•   The year in which the settlement occurred
•   Whether there were accounting allegations related to
    the alleged class period
•   Whether there was a corresponding SEC action against
    the issuer, other defendants, or related parties
•   Whether there was a criminal indictment/charge
    against the issuer, other defendants, or related parties
    related to similar allegations in the complaint




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Research Sample                                                               Data Sources
•   The database used in this report contains cases alleging                  In addition to SCAS, data sources include Dow Jones Factiva,
    fraudulent inflation in the price of a corporation’s                      Bloomberg, the Center for Research in Security Prices (CRSP)
    common stock (i.e., excluding cases with alleged classes                  at University of Chicago Booth School of Business, Standard
    of only bondholders, preferred stockholders, etc., and                    & Poor’s Compustat, Refinitiv Eikon, court filings and
    excluding cases alleging fraudulent depression in price                   dockets, SEC registrant filings, SEC litigation releases and
    and M&A cases).                                                           administrative proceedings, LexisNexis, SSLA, Securities Class
                                                                              Action Clearinghouse (SCAC), and public press.
•   The sample is limited to cases alleging Rule 10b-5,
    Section 11, and/or Section 12(a)(2) claims brought by
    purchasers of a corporation’s common stock. These
    criteria are imposed to ensure data availability and to
    provide a relatively homogeneous set of cases in terms
    of the nature of the allegations.
•   The current sample includes 1,849 securities class
    actions filed after passage of the Reform Act (1995) and
    settled from 1996 through 2019. These settlements are
    identified based on a review of case activity collected
    by Securities Class Action Services LLC (SCAS). 16
•   The designated settlement year, for purposes of this
    report, corresponds to the year in which the hearing to
    approve the settlement was held. 17 Cases involving
    multiple settlements are reflected in the year of the
    most recent partial settlement, provided certain
    conditions are met. 18




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Endnotes
1    See, e.g., “Where Have All the Public Companies Gone?,” Bloomberg Opinion, April 9, 2018.
2    See Stephen J. Choi, Jessica Erickson, and Adam C. Pritchard, “Risk and Reward: The Securities Fraud Class Action Lottery,” U.S.
     Chamber Institute for Legal Reform, February 2019.
3    See Securities Class Action Filings—2019 Year in Review, Cornerstone Research (2020).
4    See Charles Silver and Sam Dinkin, “Incentivizing Institutional Investors to Serve as Lead Plaintiffs in Securities Fraud Class Actions,”
     DePaul Law Review 57, no. 2 (2008): 471–508.
5    See Stephen J. Choi, Jessica Erickson, and Adam C. Pritchard, “Risk and Reward: The Securities Fraud Class Action Lottery,” U.S.
     Chamber Institute for Legal Reform, February 2019.
6    The “simplified tiered damages” approach used for purposes of this settlement research does not examine the mix of information
     associated with the specific dates listed in the plan of allocation, but simply applies the stock price movements on those dates to an
     estimate of the “true value” of the stock during the alleged class period (or “value line”). This proxy for damages utilizes an estimate of
     the number of shares damaged based on reported trading volume and the number of shares outstanding. Specifically, reported trading
     volume is adjusted using volume reduction assumptions based on the exchange on which the issuer defendant’s common stock is
     listed. No adjustments are made to the underlying float for institutional holdings, insider trades, or short-selling activity during the
     alleged class period. Because of these and other simplifying assumptions, the damages measures used in settlement outcome modeling
     may be overstated relative to damages estimates developed in conjunction with case-specific economic analysis.
7    See Laarni T. Bulan, Ellen M. Ryan, and Laura E. Simmons, Estimating Damages in Settlement Outcome Modeling, Cornerstone Research
     (2017).
8    The statutory purchase price is the lesser of the security offering price or the security purchase price. Prior to the first complaint filing
     date, the statutory sales price is the price at which the security was sold. After the first complaint filing date, the statutory sales price is
     the greater of the security sales price or the security price on the first complaint filing date. Similar to “simplified tiered damages,” the
     estimation of “simplified statutory damages” makes no adjustments to the underlying float for institutional holdings, insider trades, or
     short-selling activity. Shares subject to a lock-up period are not added to the float for purposes of this calculation.
9    The three categories of accounting issues analyzed in Figure 8 of this report are: (1) GAAP violations; (2) restatements—cases involving
     a restatement (or announcement of a restatement) of financial statements; and (3) accounting irregularities—cases in which the
     defendant has reported the occurrence of accounting irregularities (intentional misstatements or omissions) in its financial statements.
10   See Accounting Class Action Filings and Settlements—2018 Review and Analysis, Cornerstone Research (2019). Update forthcoming in
     March 2020.
11   It could be that the merits in such cases are stronger, or simply that the presence of a corresponding SEC action provides plaintiffs with
     increased leverage when negotiating a settlement. For purposes of this research, an SEC action is evidenced by the presence of a
     litigation release or an administrative proceeding posted on www.sec.gov involving the issuer defendant or other named defendants
     with allegations similar to those in the underlying class action complaint.
12   See, e.g., Lynn A. Baker, Michael A. Perino, and Charles Silver, “Setting Attorneys’ Fees in Securities Class Actions: An Empirical
     Assessment,” Vanderbilt Law Review 66, no. 6 (2013): 1677–1718.
13   Docket entries reflect the number of entries on the court docket for events in the litigation and have been used in prior research as a
     proxy for the amount of plaintiff attorney effort involved in resolving securities cases. See Laura Simmons, “The Importance of Merit-
     Based Factors in the Resolution of 10b-5 Litigation,” University of North Carolina at Chapel Hill Doctoral Dissertation, 1996; Michael A.
     Perino, “Institutional Activism through Litigation: An Empirical Analysis of Public Pension Fund Participation in Securities Class Actions,”
     St. John’s Legal Studies Research Paper No. 06-0055, 2006.
14   Stanford Securities Litigation Analytics (SSLA) tracks and collects data on private, shareholder securities litigation and public
     enforcements brought by the SEC and the U.S. Department of Justice. The SSLA dataset includes all traditional class actions, SEC
     actions, and DOJ criminal actions filed since 2000. Available on a subscription basis at https://sla.law.stanford.edu/.
15   These results do not hold when looking at pharma cases with only ’33 Act claims from 2010 to 2019, which had a median settlement as
     a percentage of “simplified statutory damages” of 7.5 percent compared to 7.4 percent for the rest of the sample.
16   Available on a subscription basis. For further details see https://www.issgovernance.com/securities-class-action-services/.
17   Movements of partial settlements between years can cause differences in amounts reported for prior years from those presented in
     earlier reports.
18   This categorization is based on the timing of the settlement approval. If a new partial settlement equals or exceeds 50 percent of the
     then-current settlement fund amount, the entirety of the settlement amount is recategorized to reflect the settlement hearing date of
     the most recent partial settlement. If a subsequent partial settlement is less than 50 percent of the then-current total, the partial
     settlement is added to the total settlement amount and the settlement hearing date is left unchanged.




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Appendices
Appendix 1: Settlement Percentiles
(Dollars in millions)


                                 Average                 10th                   25th                  Median                  75th              90th
          2010                    $42.4                  $2.3                    $5.0                  $13.2                  $29.3             $93.3

          2011                    $23.8                  $2.1                    $3.0                    $6.5                 $20.5             $47.5

          2012                    $68.2                  $1.3                    $3.0                  $10.5                  $39.5           $128.0

          2013                    $79.4                  $2.1                    $3.3                    $7.1                 $24.3             $90.5

          2014                    $19.7                  $1.8                    $3.1                    $6.5                 $14.2             $54.0

          2015                    $42.5                  $1.4                    $2.3                    $7.0                 $17.5           $101.4

          2016                    $75.2                  $2.0                    $4.5                    $9.1                 $35.2           $155.5
          2017                    $19.0                  $1.6                    $2.7                    $5.2                 $15.6             $36.0

          2018                    $66.1                  $1.5                    $3.7                  $11.5                  $25.2             $53.0

          2019                    $27.4                  $1.5                    $5.6                  $11.5                  $20.0             $50.0



      1996–2019                   $45.5                  $1.8                    $3.7                    $8.9                 $22.3             $74.4

Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used.



Appendix 2: Select Industry Sectors
2010–2019
(Dollars in millions)

                                                                                                                                      Median Settlement
                                                                                                               Median                 as a Percentage of
                                               Number of                       Median                     “Simplified Tiered          “Simplified Tiered
           Industry                           Settlements                     Settlement                      Damages”                    Damages”
           Financial                               103                           $19.8                           $472.5                     4.7%

           Technology                              102                             $8.7                          $212.2                     5.3%

           Pharmaceuticals                          91                             $8.6                          $237.0                     3.7%

           Retail                                   37                             $9.1                          $211.7                     3.9%

           Telecommunications                       34                             $9.6                          $270.8                     4.4%

           Healthcare                               15                             $8.5                          $132.8                     6.4%

Note: Settlement dollars and “simplified tiered damages” are adjusted for inflation; 2019 dollar equivalent figures are used. “Simplified tiered damages” are
calculated only for cases involving Rule 10b-5 claims.




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Appendix 3: Settlements by Federal Circuit Court
2010–2019
(Dollars in millions)

                                                                                                                                   Median Settlement
                                                      Number of                                 Median                             as a Percentage of
            Circuit                                  Settlements                              Settlement                       “Simplified Tiered Damages”
           First                                           22                                     $8.5                                     3.3%

           Second                                         180                                    $10.2                                     4.8%

           Third                                           49                                     $8.6                                     5.0%

           Fourth                                          27                                    $14.5                                     3.6%

           Fifth                                           34                                     $9.9                                     4.5%

           Sixth                                           29                                    $13.2                                     7.3%

           Seventh                                         39                                    $11.3                                     4.4%

           Eighth                                          13                                    $13.8                                     6.1%

           Ninth                                          189                                     $8.0                                     4.9%

           Tenth                                           16                                     $6.7                                     6.0%

           Eleventh                                        35                                     $6.3                                     5.2%

           DC                                               3                                    $29.5                                     1.9%

Note: Settlement dollars are adjusted for inflation; 2019 dollar equivalent figures are used. Settlements as a percentage of “simplified tiered damages” are
calculated only for cases alleging Rule 10b-5 claims.



Appendix 4: Mega Settlements
2010–2019

      Total Mega Settlement Dollars as a Percentage of All Settlement Dollars
      Number of Mega Settlements as a Percentage of All Settlements
                                                    84%
                                                                                                      81%
                                                                                                                                     78%
                                   74%                                               73%

   60%


                                                                                                                                                  45%
                      41%                                                                                             43%

                                                                    34%




                                          11%                                               10%              12%
            8%                                              9%
                            5%                                                                                                 5%          6%           5%
                                                                            3%

       2010              2011         2012             2013             2014            2015             2016             2017          2018        2019




                                                                                   20
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Appendix 5: Median and Average Settlements as a Percentage of “Simplified Tiered Damages”
2010–2019
                                                                                                                                                                  16.4%
    Median Settlement as a Percentage of "Simplified Tiered Damages"
    Average Settlement as a Percentage of "Simplified Tiered Damages"



                                           11.4%                                                                                  11.5%          11.6%
         10.8%
                                                                                              9.4%
                           8.6%                                              8.5%                              8.6%

                                                             6.8%
  6.3%                                                                                                                                    6.0%
                  4.9%              5.1%                              4.9%                                              5.2%
                                                     4.5%                                              4.8%                                                4.8%
                                                                                       4.2%




      2010               2011         2012               2013             2014            2015             2016             2017            2018             2019
Note: “Simplified tiered damages” are calculated only for cases alleging Rule 10b-5 claims.



Appendix 6: Median and Average Maximum Dollar Loss (MDL)
2010–2019
(Dollars in millions)

     Median MDL                                            $12,447
     Average MDL

                                        $10,137
                                                                                                              $9,611
                                                                                              $8,924




                          $5,940
                                                                                                                                                               $4,928
         $4,199
                                                                             $3,610
                                                                                                                                                 $3,021

                                                                                                                              $1,815
$1,318           $1,274            $1,099           $1,048                                                                                                $1,263
                                                                    $1,001                             $991                               $833
                                                                                       $697                             $547


      2010               2011          2012              2013             2014             2015            2016             2017            2018             2019
Note: MDL is adjusted for inflation based on class period end dates. MDL is the dollar value change in the defendant firm’s market capitalization from the
trading day with the highest market capitalization during the class period to the trading day immediately following the end of the class period.




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Appendix 7: Median and Average Disclosure Dollar Loss (DDL)
2010–2019
(Dollars in millions)

     Median DDL                                          $1,614
     Average DDL
                                                                                                           $1,478
                                         $1,406

                                                                                                                                                           $1,251




                                                                                           $791

                                                                          $631
                           $536
                                                                                                                                             $434
         $337                                                                                                                  $305
                                                                                                                                                    $237
                                  $197                                                              $173
  $109            $115                             $86             $96                                                $94             $109
                                                                                    $73


     2010                2011        2012             2013             2014            2015             2016             2017           2018            2019
Note: DDL is adjusted for inflation based on class period end dates. DDL is the dollar value change in the defendant firm’s market capitalization between the
trading day immediately preceding the end of the class period and the trading day immediately following the end of the class period. This analysis excludes
cases alleging ’33 Act claims only.



Appendix 8: Median Docket Entries by “Simplified Tiered Damages” Range
2010–2019
(Dollars in millions)
                                                                                                                                         205
     2019
     2010–2018


                                                      147                145           147
                                                                                                          130                                           134
                                                                                                                         128
                                      118
       105

                         80




              < $50                        $50–$99                         $250–$499                         $100–$249                         > $500

Note: “Simplified tiered damages” are calculated only for cases alleging Rule 10b-5 claims.




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